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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                           Magistrate Judge Kathleen M. Tafoya

 Civil Action No. 11–cv–03238–PAB–KMT


 SAMUEL M WALKER, and
 DIANE H WALKER,

        Plaintiffs,

 v.

 FRED WEGENER, individual and official capacity,
 BOBBY PRIESTLY, individual and official capacity,
 CINDY HARDEY, individual and official capacity,
 REBECCA BRAMLETT, individual and official capacity,
 AMY FRANCK, individual and official capacity,
 JUAN GALLEGOS, individual and official capacity,
 DEPT SGT BROWN, individual and official capacity,
 PARK COUNTY,
 PARK COUNTY COMMISSIONERS,
 ATTORNEY GENERAL, COLORADO, official capacity, and
 COURT CLERK, individual and official capacity,

        Defendants.


               ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE
                       AND RULE 26(f) PLANNING MEETING



        This case has been referred to Magistrate Judge Kathleen M. Tafoya by District Judge
 Philip A. Brimmer, pursuant to the Order of Reference filed December 14, 2011. See 28 U.S.C.
 §636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b).

        IT IS HEREBY ORDERED:

        (1) The court shall hold a Fed. R. Civ. P. 16(b) scheduling and planning conference on
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                                        March 20, 2012, at
                                    9:30 a.m. (Mountain Time).


 The conference shall be held in Courtroom C-201, Second Floor, of the Byron Rogers U.S.
 Courthouse, 1929 Stout Street, Denver, Colorado. If this date is not convenient for any party1,
 he or she shall file a motion to reschedule the conference to a more convenient time. Please
 remember that anyone seeking entry into the Byron Rogers United States Courthouse will
 be required to show valid photo identification. See D.C.COLO.LCivR 83.2B.

        A copy of instructions for the preparation of a scheduling order and a form scheduling
 order can be downloaded from the Court’s website at www.co.uscourts.gov/forms-frame.htm
 (Click on “Civil Forms” in the blue box at the top of the screen and scroll down to the bold
 heading “Standardized Order Forms”). Parties are to prepare the proposed scheduling order in
 accordance with the Court’s form.

        The parties shall submit their proposed scheduling order, pursuant to District of Colorado
 Electronic Case Filing (“ECF”) Procedures V.5.12, on or before:

                                   5:00 p.m. (Mountain Time) on
                                          March 13, 2012.


         (2) In preparation for the scheduling/planning conference, the parties are directed to
 confer in accordance with Fed. R. Civ. P. 26(f), on or before:

                                         February 28, 2012.


 The court strongly encourages the parties to meet face to face, but should that prove impossible,
 the parties may meet by telephone conference. All parties are jointly responsible for arranging
 and attending the Rule 26(f) meeting.

         During the Rule 26(f) meeting, the parties shall discuss the nature and basis of their
 claims and defenses and the possibilities for a prompt settlement or resolution of the case, make
 or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1), and develop their proposed
 scheduling/discovery plan. The parties should also discuss the possibility of informal discovery,


        1
         The term “party” as used in this Order means counsel for any party represented by a
 lawyer, and any pro se party not represented by a lawyer.

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 such as conducting joint interviews with potential witnesses, joint meetings with clients,
 depositions via telephone, or exchanging documents outside of formal discovery.

         In those cases in which: (i) the parties’ substantive allegations involve extensive
 computer-generated records; (ii) a substantial amount of disclosure or discovery will involve
 information or records in electronic form (i.e., e-mail, word processing, databases); (iii) expert
 witnesses will develop testimony based in large part on computer data and/or modeling; or (iv)
 any party plans to present a substantial amount of evidence in digital form at trial, the parties
 shall confer regarding steps they can take to preserve computer records and data, facilitate
 computer-based discovery and who will pay costs, resolve privilege issues, limit discovery costs
 and delay, and avoid discovery disputes relating to electronic discovery. The parties shall be
 prepared to discuss these issues, as appropriate, in the proposed Scheduling Order and at the
 scheduling and planning conference.

        These are the minimum requirements for the Rule 26(f) meeting. The parties are
 encouraged to have a comprehensive discussion and are required to approach the meeting
 cooperatively and in good faith. The parties are reminded that the purpose of the Rule 26(f)
 meeting is to expedite the disposition of the action, discourage wasteful pretrial activities, and
 improve the quality of any eventual trial through more thorough preparation. The discussion of
 claims and defenses shall be a substantive, meaningful discussion.

        The parties are reminded that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be
 sought prior to the Rule 26(f) meeting.

        (3) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
 P. 26(a)(1) on or before:

                                           March 13, 2012.


 Counsel and parties are reminded that mandatory disclosure requirements encompass computer-
 based evidence which may be used to support claims or defenses. Mandatory disclosures must
 be supplemented by the parties consistent with the requirements of Fed. R. Civ. P. 26(e).
 Counsel and parties are reminded that mandatory disclosure requirements encompass computer-
 based evidence which may be used to support claims or defenses. Mandatory disclosures must
 be supplemented by the parties consistent with the requirements of Fed. R. Civ. P. 26(e).
 Mandatory disclosures and supplementation are not to be filed with the Clerk of the Court.

         (4) All parties are expected to be familiar with the United States District Court for the
 District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are available from


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 Office of the Clerk, United States District Court for the District of Colorado, or through the
 District Court’s web site: www.cod.uscourts.gov.

       All out-of-state counsel shall comply with D.C.COLO.LCivR. 83.3 prior to the
 Scheduling/Planning Conference.

        Dated this 6th day of January, 2012.

                                                      BY THE COURT:




                                                      Kathleen M. Tafoya
                                                      United States Magistrate Judge




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